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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

GILLESPIE & POWERS, INC.,
Plaintiff,

Vv. Case No. 1:23-cv-00273-GBW

ALCOA WARRICK LLC, WARRICK
REAL ESTATE LLC and KAISER
ALUMINUM WARRICK, LLC,

Defendants.

Nm Name nee Nee Na Nuc” Nee eee Nee” Nee” Nee”

AGREED SCHEDULING ORDER

Plaintiff Gillespie & Powers, Inc, and Defendants Alcoa Warrick LLC and Kaiser
Aluminum Warrick, LLC,' having met and conferred pursuant to Fed. R. Civ. P. 16 and Local
Rule 16.1, stipulate and agree to the following scheduling order, subject to approval and entry by
the Court:

1. Rule 26(a)(1) Initial Disclosures and E-Discovery Default Standard. Unless
otherwise agreed to by the parties, the parties shal! make their initial disclosures pursuant to
Federal Rule of Civil Procedure 26(a)(1) within five (5) days of the date the Court entered this
Order. If they have not already done so, the parties are to review the Court’s Default Standard for
Discovery, Including Discovery of Electronically Stored Information (“ESI”), which is posted at
http://www.ded.uscourts.gov (see Other Resources, Default Standard for Discovery) and is
incorporated herein by reference.

2. Joinder of Other Parties and Amendment of Pleadings. All motions to join other

parties, and to amend or supplement the pleadings, shall be filed on or before March 17, 2025.

1 Defendant Warrick Real Estate LLC is not a party to this stipulation and has not agreed to the deadlines herein. Its
position is that a scheduling order is premature given its pending motion to dismiss and that the Court should defer on
entering a scheduling order until after the pleadings are closed.

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Unless otherwise ordered by the Court, any motion to join a party or motion to amend the pleadings
shall be made pursuant to the procedures set forth in Paragraphs 3(g) and 4.

3. Discovery. Unless otherwise ordered by the Court or agreed to by parties, the
limitations on discovery set forth in the Federal Rules of Civil Procedure shall be strictly observed.

a) Fact Discovery Cut Off. All fact discovery in this case shall be initiated so

that it will be completed on or before October 31, 2025,

b) Document Production. Document production shall be substantially

complete by July 31, 2025.

c) Requests for Admission. A maximum of 25 requests for admission are

permitted for each side.
d) Interrogatories.
i. A maximum of 25 interrogatories, including contention
interrogatories, are permitted for each side.

li. The Court encourages the parties to serve and respond to contention
interrogatories early in the case. In the absence of agreement among the parties, contention
interrogatories, if filed, shall first be addressed by the party with the burden of proof. The adequacy
of all interrogatory answers shall be judged by the level of detail each party provides (i.e., the more
detail a party provides, the more detail a party shall receive).

e) Depositions.

i. Limitation on Hours for Deposition Discovery. Each side is limited

to a total of 70 hours of taking testimony by deposition upon oral examination.

il. Location of Depositions. If the parties disagree over the location for

a deposition, the provisions of this paragraph shall apply. Any party or representative (officer,

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director, or managing agent) of a party filing a civil action in this district court must ordinarily be
required, upon request, to submit to a deposition at a place designated within this district.
Exceptions to this general rule may be made by order of the Court. A defendant who becomes a
counterclaimant, cross-claimant, or third-party plaintiff shall be considered as having filed an
action in this Court for the purpose of this provision.

f) Disclosure of Expert Testimony.

i. Expert Reports. Plaintiff's Fed. R. Civ. P. 26(a)(2) disclosure of
expert testimony is due on or before January 9, 2026. Defendants’ Rule 26(a)(2) expert disclosure
is due on or before February 13, 2026. Reply expert disclosures area due on or before March 13,
2026. No other expert reports will be permitted without either the consent of all parties or leave of
the Court. Along with the submissions of the expert reports, the parties shall advise of the dates
and times of their experts’ availability for deposition.

ii. Objections to Expert Testimony. To the extent any objection to
expert testimony is made pursuant to the principles announced in Daubert v. Merrell Dow
Pharmaceuticals, Inc., 509 U.S. 579 (1993), as incorporated in Federal Rule of Evidence 702, it
shall be made by motion no later than the deadline for dispositive motions set forth herein, unless
otherwise ordered by the Court.

iii. Expert Discovery Cut Off. All expert discovery in this case shall be

initiated so that it will be completed on or before April 10, 2026.

g) Discovery Matters and Disputes Relating to Protective Orders.

i. Any discovery motion filed without first complying with the
following procedures will be denied without prejudice to renew.

ii. Should counsel find, after good faith efforts — including verbal

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communications among Delaware and Lead Counsel for all parties to the dispute — that they are
unable to resolve a discovery matter or a dispute relating to a protective over, the parties involved
in the discovery matter or protective order dispute shall submit a joint letter in substantially the
following form:
Dear Judge Williams:
The parties in the above-referenced matter
write to request the scheduling of a discovery
teleconference.
The following attorneys, including at least
one Delaware Counsel and at least one Lead Counsel
per party, participated in a verbal] meet-and-confer

(in person and/or by telephone) on the following
date(s):

Delaware Counsel:

Lead Counsel:

The disputes requiring judicial attention are
listed below:

[provide here a non-argumentative list of disputes
requiring judicial attention]

ili. On a date to be set by separate order, generally not less than forty-
eight (48) hours prior to the conference, the party seeking relief shall file with the Court a letter,
not to exceed three (3) pages, outlining the issues in dispute and its position on those issues. On a
date to be set by separate order, but generally not less than twenty-four (24) hours prior to the
conference, any party opposing the application for relief may file a letter, not to exceed three (3)
pages, outlining that party’s reasons for its opposition.

iv. Each party shall submit two (2) courtesy copies of its discovery

letter and any attachments.

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v. Should the Court find further briefing necessary upon conclusion of
the conference, the Court will order it. Alternatively, the Court may choose to resolve the dispute

prior to the conference and will, in that event, cancel the conference.

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4, Motions to Amend.

a) Any motion to amend (including a motion for leave to amend) a pleading
shall NOT be accompanied by an opening brief but shall, instead, be accompanied by a letter, not
to exceed three (3) pages, describing the basis for the requested relief, and shall attach the proposed
amended pleading as well as a “blackline” comparison to the prior pleading.

b) Within seven (7) days after the filing of a motion in compliance with this
Order, any party opposing such a motion shail file a responsive letter, not to exceed five (5) pages.

Cc) Within three (3) days thereafter, the moving party may file a reply letter,
not to exceed two (2) pages, and, by this same date, the parties shall file a letter requesting a
teleconference to address the motion to amend.

5. Motions to Strike.

a) Any motion to strike any pleading or other document shall NOT be
accompanied by an opening brief but shall, instead, be accompanied by a letter, not to exceed three
(3) pages, describing the basis for the requested relief, and shall attach the document to be stricken.

b) Within seven (7) days after the filing of a motion in compliance with this
Order, any party opposing such a motion shall file a responsive letter, not to exceed five (5) pages.

c) Within three (3) days thereafter, the moving party may file a reply letter,
not to exceed two (2) pages, and, by this same date, the parties shall file a letter requesting a
teleconference to address the motion to strike.

6. Application to Court for Protective Order. Should counsel find it will be necessary
to apply to the Court for a protective order specifying terms and conditions for the disclosure of
confidential information, counsel should confer and attempt to reach an agreement on a proposed

form of order and submit it to the Court within ten (10) days from the date the Court enters this

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Order. Should counsel be unable to reach an agreement on a proposed form of order, counsel must
follow the provisions of Paragraph 3(g) above.
Any proposed protective order must include the following paragraph:

Other Proceedings. By entering this order and limiting
the disclosure of information in this case, the Court does
not intend to preclude another court from finding that
information may be relevant and subject to disclosure in
another case. Any person or party subject to this order
who becomes subject to a motion to disclose another
party’s information designated “confidential” [the
parties should list any other level of designation, such as
“highly confidential,” which may be provided for in the
protective order] pursuant to this order shall promptly
notify that party of the motion so that the party may have
an opportunity to appear and be heard on whether that
information should be disclosed.

7. Papers Filed Under Seal. In accordance with section G of the Revised

Administrative Procedures Governing Filing and Service by Electronic Means, a redacted version
of any sealed document shall be filed electronically within seven (7) days of the filing of the sealed
document.

8. Courtesy Copies. The parties shall provide to the Court two (2) courtesy copies of
all filings (7.e., briefs, appendices, exhibits, declarations, affidavits etc.). Courtesy copies of
appendices and exhibits should include hard tabs. This provision also applies to papers filed under
seal.

9. Case Dispositive Motions.

a) All case dispositive motions, an opening brief, and affidavits, if any, in
support of the motion shall be served and filed on or before April 30, 2026. Briefing will be
presented pursuant to the Court’s Local Rules. No case dispositive motion under Rule 56 may be

filed more than ten (10) days before the above date without leave of the Court.

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b) Concise _Statement_of Facts Requirement. Any motion for summary

judgment shall be accompanied by a separate concise statement, not to exceed six (6) pages, which
details each material fact which the moving party contends is essential for the Court's resolution
of the summary judgment motion (not the entire case) and as to which the moving party contends
there is no genuine issue to be tried. Each fact shall be set forth in a separate numbered paragraph
and shall be supported by specific citation(s) to the record.

Any party opposing the motion shall include with its opposing papers a response to
the moving party’s concise statement, not to exceed six (6) pages, which admits or disputes the
facts set forth in the moving party’s concise statement on a paragraph-by-paragraph basis. To the
extent a fact is disputed, the basis of the dispute shall be supported by specific citation(s) to the
record. Failure to respond to a fact presented in the moving party’s concise statement of facts shall
indicate that fact is not in dispute for purposes of summary judgment. The party opposing the
motion may also include with its opposing papers a separate concise statement, not to exceed four
(4) pages, which sets forth material facts as to which the opposing party contends there is a genuine
issue to be tried. Each fact asserted by the opposing party shall also be set forth in a separate
numbered paragraph and shall be supported by specific citation(s) to the record.

The moving party shall include with its reply papers a response to the opposing
party’s concise statement of facts, not to exceed four (4) pages, on a paragraph-by-paragraph basis.
Failure to respond to a fact presented in the opposing party’s concise statement of facts shall
indicate that fact remains in dispute for purposes of summary judgment.

c) Ranking of Summary Judgment Motions. Any party that files more than one

summary judgment motion shall number each motion to indicate the order in which the party

wishes the Court to review its pending motions. The first motion the party wishes the Court to

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consider shall be designated #1, the second motion shall be designated #2, and so on. The Court
will review the party's summary judgment motions in the order designated by the party. If the
Court decides to deny a motion filed by the party, barring exceptional reasons determined sua
sponte by the Court, the Court will not review any lower ranked summary judgment motions filed
by the party.

10. Applications by Motion. Except as otherwise specified herein, any application to

the Court shall be by written motion. Any non-dispositive motion should contain the statement
required by Local Rule 7.1.1.

Il. Motions in Limine. Motions in limine shall not be separately filed. All in limine

requests and responses thereto shall be set forth in the proposed pretrial order. Each party shall be
limited to three (3) in limine requests, unless otherwise permitted by the Court. The in limine
request and any response shall contain the authorities relied upon; each in limine request may be
supported by a maximum of three (3) pages of argument, may be opposed by a maximum of three
(3) pages of argument, and the party making the in limine request may add a maximum of one (1)
additional! page in reply in support of its request. If more than one party is supporting or opposing
an in limine request, such support or opposition shall be combined in a single three (3) page
submission (and, if the moving party, a single one (1) page reply), unless otherwise ordered by the
Court. No separate briefing shall be submitted on in limine requests, unless otherwise permitted
by the Court.

12. Pretrial Conference. On January 5, 2027, the Court will hold a pretrial conference in
Court with counsel beginning at 3 p.m. The parties shall file with the Court the joint proposed
final pretrial order in compliance with Local Rule 16.3(c) and the Court's Preferences and
Procedures for Civil Cases not later than seven (7) days before the pretrial conference.

Unless otherwise

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ordered by the Court, the parties shall comply with the timeframes set forth in Local Rule
16.3(d)(1)-(3) for the preparation of the joint proposed final pretrial order. The Court will advise
the parties at or before the above-scheduled pretrial conference whether an additional pretrial
conference will be necessary.

The parties shall provide the Court two (2) courtesy copies of the joint proposed
final pretrial order and all attachments. The proposed final pretrial order shal] contain a table of
contents and the paragraphs shall be numbered.

13. Jury Instructions, Voir Dire, and Special Verdict Forms. Where a case is to be tried

to a jury, pursuant to Local Rules 47.1(a)(2) and 51.1 the parties should file (i) proposed voir dire,
(ii) preliminary jury instructions, (iii) final jury instructions, and (iv) special verdict forms seven
(7) full days before the final pretrial conference. This submission shall be accompanied by a
courtesy copy containing electronic files of these documents, in Microsoft Word format, which
may be submitted by e-mail to gbw_civil@ded.uscourts.gov.

14. Trial. This matter is scheduled for a 3 day jury trial beginning at 9:30 a.m. on
January 11, 2027, with subsequent trial days beginning at 9:30 a.m. Until the case is submitted to
the jury for deliberations, the jury will be excused each day at 5:30 p.m. The trial will be timed,
as counsel will be allocated a total number of hours in which to present their respective cases.

15. | ADR Process. This matter is referred to a magistrate judge to explore the possibility
of alternative dispute resolution.

16. Page/Word Limitations. Where page limits are specified by order or rule, the parties

shall use a word-count limit. For each page allowed by order or rule, the parties shall use up to 250
words. For example, where the page limit specified by rule is 20 pages, the maximum number of

words for a party’s submission would be 5,000 (20 x 250). A certification as to the total number

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of words must be included in any submission.

17. Font. The text for all briefs, letters, motions, and concise statements of fact shall be
14-point and in Times New Roman or similar typeface. Each such filing must include a
certification by counsel that the filing complies with the type, font, and word limitations set forth
in this Order. The person who prepares the certification may rely on the word count of the word-

processing system used to prepare the filing.

18. Compendium of Cases. A party may submit with any briefing two (2) courtesy

copies of a compendium of the selected authorities on which the party would like the Court to
focus. Compendiums of cases shall not be filed electronically with the Court, but a notice of service
of a compendium of cases shall be filed electronically with the Court.

19. Relevant Deadlines and Dates. All relevant deadlines and dates established by this

Order are set forth in the chart attached as Exhibit A.

Dated: January 29, 2025

MARSHALL DENNEHEY, P.C. BARNES & THORNBURG LLP

/s/ M. Claire McCudden /s/ William J. Burton

M. Claire McCudden, Esquire (#5036) William J. Burton (No. 6243)

1007 N. Orange Street, Suite 600 22? Delaware Ave., Suite 1200

P.O. Box 8888 Wilmington, Delaware 19801

Wilmington, DE 19899 Tel: (302) 300-3447

e-mail: memccudden@mdweg.com Email: william.burton@btlaw.com

tel.: 302.552.4354

fax: 302.552.4340 OF COUNSEL:

OF COUNSEL: Charles P. Edwards (admitted pro hac vice)
Cory L. Turner (admitted pro hac vice)

Adam E. Levy 11 South Meridian Street

15000 Midlantic Drive, Suite 200 Indianapolis, Indiana 46204

P.O. Box 5429 Phone: (317) 236-1313

Mount Laurel, NJ 08054 Email: charles.edwards@btlaw.com

Tel: (856) 414-6000 cory.turner@btlaw.com

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Email: aelevy@mdweg.com
Counsel for Defendants
Counsel for Gillespie & Powers, Inc. Alcoa Warrick LLC and Kaiser
Aluminum Warrick, LLC

SO ORDERED this 30th Day of January 2025.

Winch,

UNITED STATES DISTRICT JUDGE

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EXHIBIT A

Event

Date

Deadline to File motions to join other parties,
and to amend or supplement the pleadings

March 17, 2025

Deadline to substantially complete document
productions.

July 31, 2025

Deadline to complete fact discovery.

October 31, 2025

Deadline for Plaintiff's Federal Rule of Civil
Procedure 26(a)(2) disclosure of expert
testimony.

January 9, 2026

Deadline for Defendants’ Federal Rule of
Civil Procedure 26(a)(2) disclosure of expert
testimony.

February 13, 2026

Deadline for Reply expert reports.

March 13, 2026

Deadline to complete expert discovery.

April 10, 2026

Deadline to file dispositive motions and
Daubert motions.

April 30, 2026

Deadline to File Joint Proposed Pretrial
Order

Deadline to file (i) proposed voir dire, (ii)
preliminary jury instructions, (iii) final jury
instructions, and (iv) special verdict forms.

Pretrial Conference.

January 5, 2027

Jury Trial.

January 11, 2027

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